          Case 1:20-cv-08323-AJN Document 15 Filed 01/11/21 Page 1 of 1



                                                                                       1/11/21
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




  John Keatley,

                         Plaintiff,                                              20-cv-8323 (AJN)

                  –v–                                                                 ORDER

  Playbuzz LTD.,

                         Defendant.


ALISON J. NATHAN, District Judge:

        It having been reported to this Court that the parties have reached an agreement in
principle to settle this action in its entirety, Dkt. No. 14, it is hereby ORDERED that the above-
captioned action is discontinued without costs to any party and without prejudice to restoring the
action to this Court’s calendar if the application to restore the action is made within thirty (30)
days. To be clear, any application to reopen must be filed within thirty days of this Order; any
application to reopen filed thereafter may be denied solely on that basis.

        IT IS ORDERED that all scheduled conferences, including the initial pretrial conference
scheduled for January 15, 2021, are hereby adjourned sine die. Within the thirty-day period
provided for in this Order, the parties may submit to the Court their own Stipulation of Dismissal
for the Court to So Order. Pursuant to Rule 5.A. of the Court’s Individual Practices in Civil
Cases, the Court will not retain jurisdiction to enforce a settlement agreement unless the terms of
the agreement are made part of the public record.

       SO ORDERED.


Dated: January 11, 2021                              __________________________________
       New York, New York                                   ALISON J. NATHAN
                                                          United States District Judge
